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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   IN RE:                                       :
            Rhodie I. Bruce                     :      Chapter 13
                                                :      No.: 19-16697-MDC
            Debtor(s)                           :


            RESPONSE OF DEBTOR TO THE MOTION FOR RELIEF OF AUTOMATIC
                    STAY FILED BY NATIONSTAR MORTGAGE, LLC..

          Debtor, Rhodie I. Bruce, by and through their undersigned Counsel, Brad J.
   Sadek, in response to the Motion for Relief filed by Nationstar Mortgage, LLC., hereby
   submits the following:


            1.     Admitted.

            2.     Admitted.

            3.     Admitted.

            4.     Admitted.

            5.     Admitted.

            6.     Admitted.

            7.     Admitted.

            8.     Denied. Debtor avers all payments have been made to date.

            9.     Denied. Debtor requests Movant’s post-petition accounting and the debtor
                   will provide proof of the same.

            10.    Debtor unsure of the same.

            11.    Debtor unsure of the same.

            12.    Denied as relevant as debtor avers all payments were made to dat.e

            13.    Denied.

            14.    Denied.
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          15.     Denied.


         WHEREFORE, based on the aforementioned, Movant shall be denied an Order
   modifying the Automatic Stay under Bankruptcy Code Section 362.


                                                       Respectfully submitted,

   Dated: March 22, 2021                               ________________________
                                                              /s/ Brad J. Sadek, Esq.
                                                       Attorney for the Debtor
                                                       Sadek & Cooper
                                                       1315 Walnut Street, #502
                                                       Philadelphia, PA 19107
                                                       (215) 545-0008




                                 CERTIFICATE OF SERVICE

           I Brad J. Sadek, Esq. certify that on the date indicated below served a true and
   correct copy of the Debtor’s Response to the Motion for Relief from Automatic Stay by
   electronic or Regular U.S. Mail on all creditors and the following parties:


                                   William C. Miller, Esq.
                                     Chapter 13 Trustee

                                    Charles G. Wohlrab
                                      Electronic Notice
                                    Attorney for Movant



   Dated: March 22, 2021                                       /s/Brad J. Sadek, Esq
                                                               Brad J. Sadek, Esq.
                                                               Attorney for Debtor
                                                               1315 Walnut Street
                                                               Suite #502
                                                               Philadelphia, PA 19107
